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United States District Court _ n q w
District of Massachuse t§“"“ "' _ z

 

UNITED STATES OF AMERICA,

 

v.
Criminal Action No.

GARY P. DECICCO, 17-10092-NMG

Defendant.

Vv§.¢vvvvvv

 

Verdict Form

We, the Jury, unanimously find the defendant, GARY DECICCO, on
the Single charge of attempted extortion in violation of the
Hobbs Act, 18 U.S.C. § 1951:

Not Guilty Guilty

YOUR DELIBERATIONS ARE COMPLETE. THE FOREPERSON WILL SIGN THE
VERDICT FORM AND NOTIFY THE MARSHAL IN WRITING THAT THE JURY HAS
COME TO A DECISION BUT DO §QE REVEAL YOUR VERDICT TO THE
MARSHAL. THE JURY WILL THEN BE INVITED TO THE COURTROOM TO
RETURN ITS VERDICT. '

Dated: ;Z;;!c £j?cgng, Jury Forepereon:

  

